






Opinion issued November 27, 2002








In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00896-CV

____________


IN THE INTEREST OF J.D.S. AND A.J.S., CHILDREN








On Appeal from the 308th District Court

Harris County, Texas

Trial Court Cause No. 2001-21001






O P I N I O N

	Appellant has filed a motion to dismiss her appeal.  More than 10 days has
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Mirabal, Hedges, and Keyes

Do not publish. Tex. R. App. P. 47.


